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                                                                        December 30, 2020



VIA ECF
Honorable Mary Kay Vyskocil
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, NY 10007-1312

       Re:     Pfizer Inc. v. U.S. Department of Health and Human Services et al.
               Case No.: 20-cv-04920-MKV

Dear Judge Vyskocil:

        Plaintiff Pfizer Inc. (“Pfizer”) files this letter to address two recently issued
authorities referenced for the first time in the government’s Reply Memorandum of Law,
ECF No. 57 (filed Dec. 21, 2020) (“Gov’t Reply”). In its Reply, the government makes
extensive citation to a newly issued district court opinion in United States v. Regeneron
Pharma., Inc., No. 20 Civ. 11217, 2020 WL 7130004 (D. Mass. Dec. 4, 2020) (see Gov’t
Reply 7, 14 & n.3), as well as to a regulation promulgated by OIG that establishes new safe
harbors for value-based arrangements, 85 Fed. Reg. 77684 (Dec. 2, 2020), (see Gov’t Reply
10-11). As these authorities only issued earlier this month, they were not raised in the
government’s principal brief, and thus Pfizer has not previously had an opportunity to
address the government’s reliance on them. Pfizer respectfully submits this short letter so
that the Court has the benefit of both parties’ briefing on these supplemental authorities.

        First, the government’s reliance on the decision in Regeneron is misplaced. As an
initial matter, that decision denied a motion to dismiss a filed civil enforcement action,
which is a wholly different procedural posture than that presented here. Pfizer’s Advisory
Opinion Request sought a prospective determination regarding the lawfulness under the
AKS of its proposed Programs based on specific, certified facts—in accordance with the
advisory opinion process Congress established by statute. See 42 U.S.C. § 1320a-7d(b).
Pfizer asks this Court to set aside OIG’s negative advisory opinion and to issue a
declaration of legal rights based on those same certified facts. The Court does not need to
contend with contested factual allegations as in Regeneron or to consider some other
hypothetical fact pattern that might later exist, as the government asserts in its Reply.

        Moreover, the government mischaracterizes the Regeneron decision as rejecting
Pfizer’s well-founded contention that an AKS offense requires an improper purpose.
(Gov’t Reply at 6-7). To the contrary, the court in Regeneron repeatedly stated that, in
order to establish an AKS violation, a defendant must have “improper intent” to
“impermissibly influence patients’ drug choice” and stressed that the complaint in that case
plausibly alleged that “the expectation of copay assistance . . . did change prescriber
behavior” because patients (and their doctors) had other pharmaceutical options from
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which to choose. 2020 WL 7130004, at *11-13; see also id. at *8 (finding that “the
heartland of what the AKS is intended to prevent [is] the use of payments to improperly
influence decisions on the provision of heath care” paid by federal health care programs)
(quoting Guilfoile v. Shields, 913 F.3d 178, 192-93 (1st Cir. 2019) (emphasis added)).
Specifically, those allegations included that the copay assistance program steered
physicians and patients away from an option substantially less expensive than Regeneron’s
product. Id. at *2. In those circumstances, the court concluded that the “difficult factual
determination” of whether the company had the requisite improper intent could not be
decided on the pleadings. Id. at *12. By contrast, this Court need not make such difficult
determinations. Under the unique facts surrounding tafamidis and Pfizer’s proposed
Programs, the copay assistance would not improperly induce prescriptions but simply
would make it possible for patients to afford the one drug approved by FDA and prescribed
by their doctors for their objectively diagnosed, debilitating condition. The government’s
reliance on the denial of the motion to dismiss in Regeneron is therefore unavailing.

        Second, the government relies on its own newly-issued regulations establishing and
modifying certain AKS safe harbors to claim that Pfizer cannot seek pre-enforcement
review of its proposed Programs because the applicability of the AKS “should be
determined based on the totality of the facts and circumstances.” (Gov’t Reply at 11 (citing
HHS OIG Final Rule, 85 Fed. Reg. 77684, 77685 (Dec. 2. 2020))). In selectively quoting
OIG’s new regulation, the government ignores other portions of the same regulation that
undermine its jurisdictional and substantive arguments. Nothing about this regulation
suggests that the AKS is ill-suited to pre-enforcement review; if anything, the regulation
underscores the importance of prospective evaluation of proposed programs based on their
particular facts and circumstances to avoid over-regulation and chilling of beneficial
arrangements. See id. at 77684. Moreover, the sentences directly preceding those quoted
by the government refute its claim that the AKS necessarily prohibits financial
arrangements that do not fit within a safe harbor established by statute or regulation. Id. at
77685 (recognizing that not all “beneficial arrangements” will “fit in these or other
available safe harbors,” and that “[a]rrangements are not necessarily unlawful because they
do not fit in a safe harbor”).

          Further, and perhaps most consequentially, the new regulation’s description of the
AKS supports Pfizer’s argument that the statute requires an improper quid pro quo, as it
explicitly states that the AKS “is an intent-based, criminal statute that prohibits intentional
payments . . . in exchange for referrals or other Federal health care program business.” Id.
at 77684 (emphasis added). Contrary to the government’s inaccurate assertion that Pfizer
lacks recent authority to show the AKS requires a corrupting quid pro quo (see Gov’t Reply
at 3), OIG’s own regulation itself describes this essential relationship between the offered
remuneration and the sought referral or purchase—a conclusion apparent from the AKS’s
text, title, structure, and purpose, see Skilling v. United States, 561 U.S. 358, 412-13 (2010).
As Pfizer has explained, providing copay assistance to allow patients properly diagnosed
with ATTR-CM to afford the only FDA-approved treatment for that fatal disease cannot
be described as a payment “in exchange for” federal health care program business—it is
assistance to allow the patient to receive appropriate and necessary medical care and
benefits to which they are indisputably entitled.




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        Undersigned counsel conferred with counsel for the government regarding the
filing of this letter, and the government stated as follows: “The Government takes no
position but notes that the authorities which Pfizer now wishes to discuss in more briefing
were issued before Pfizer filed its Opposition and Reply memorandum, and could therefore
have been addressed therein. The Government reserves its right to seek leave to file a letter
addressing any arguments raised in Pfizer’s letter.”


                                            Sincerely,

                                            /s/ Joan McPhee
                                            Joan McPhee
Ilana H. Eisenstein (pro hac vice)          Joan.McPhee@ropesgray.com
Ilana.Eisenstein@dlapiper.com               ROPES & GRAY LLP
DLA PIPER LLP (US)                          1211 6th Avenue
One Liberty Place                           New York, NY 10036
1650 Market Street, Suite 5000              (212) 596-9000 (voice)
Philadelphia, PA 19103-7300                 (212) 596-9090 (fax)
(215) 656-3300 (voice)
(215) 656-3301 (fax)                        Douglas Hallward-Driemeier (pro hac vice)
                                            Douglas.Hallward-Driemeier@ropesgray.com
Loren H. Brown                              Samantha Barrett Badlam (pro hac vice)
Loren.Brown@dlapiper.com                    Samantha.Badlam@ropesgray.com
DLA PIPER LLP (US)                          ROPES & GRAY LLP
1251 Avenue of the Americas                 2099 Pennsylvania Avenue NW
New York, NY 10020-1104                     Washington, DC 20006
(212) 335-4500 (voice)                      (202) 508-4600 (voice)
(212) 335-4501 (fax)                        (202) 508-4650 (fax)

                                            Attorneys for Plaintiff Pfizer Inc.




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